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                              THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN
                                       EASTERNDIVISION
                                              DIVISION

                                                      :
In Re: Tagnetics, Inc.
__________________________________                    :              19-30822
                                                           Case No. _________________
                                                      :    Judge: ___________________
                                                                   Guy R. Humphrey

                v.                                    :    Corporate Disclosure Statement
                                                      :
__________________________________                    :
                                                      :

        Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
held company that “controls, is controlled by, or is under common control with a publicly controlled
corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
throughout the pendency of this case.

        In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

        S-Tek, Inc.
        _______________________________________________________________________.

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

        ___ YES           ✔ NO
                         ___

        If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:
        ________________________________________________________________________
        ________________________________________________________________________

2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome?

        ___ YES           ✔ NO
                         ___

        If the answer is YES, list the identity of such corporation and the nature of the financial interest.
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________

        Christopher L. Wesner #0082699
        ______________________________                               05/14/19
                                                                     ________________________
        Signature of Counsel                                         Date


                                          “Certificate of Service”

             COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                  TO UPDATE AND SUPPLEMENT THIS STATEMENT
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of May, 2019, a true and correct copy of the foregoing
Corporate Disclosure Statement was served on the following registered ECF participants,
electronically through the Court’s ECF System at the email address registered with the Court:

U.S. Trustee (Day)
Asst. US Trustee (Day)
Office of US Trustee
170 N. High Street
Suite 200
Columbus, OH 43215-2417

and the following by ordinary U.S. Mail addressed to:

Tagnetics Inc.
3415 RT 36
Piqua, OH 45356

Kenneth W. Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Dr.
New Carlise, OH 45344


Kayser Ventures Ltd.
1872 Pratt Dr.
Ste. 1800
Blacksburg, VA 24060

Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St.
Marcengo, IL 60152

S-Tek Inc.
1100 Wayne St.
Suite 5000
Troy, OH 45373
                                                          /s/ Chris Wesner
                                                          Chris Wesner
